      Case 2:12-cr-00294-GMN-GWF Document 1 Filed 08/08/12
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                                                                                  CûukssrpxyntsûFggcga;
1    D AN IEL 0 . BOGDEN
     UnitedStatesAttomey                                                     ItJC - 8 /.
                                                                                       ':?
2    M ICHM L CHU                                                                         .
     A ssistantU nited StatesA ttorney                                    cs Fa rs aga jgyc
3    333 tzas vegasBoulevard South,Suite 5000                               nlsu lcrPFNEw xgyay
     Lasv egas,N evada 89101                                        8r:                           pE?fJ'
                                                                                                       r?
4    (702) 388-6336
5                                    IJNITED STATES Dlsrrm c'rcotm 'r

6                                    FO R THE D ISTRICT O F N EVA D A

7
     UNITED STATES OF AM ERICA,                                    CRIM m AL INDICTM ENT
8
9                  Plaintiff,                                    2:12-CR- A ''
                                                                            V
     v.                                                 V IO LATION S:
10                                                      18 u s.c.jl030(a)(2)-ObtainingInformation
     JO H N SINA G RA ,                                 By Com puter from a Protected Com puter;            '
11                                                      18 U .s.c,j1028A(a)(1)-Aggravatedldentity
                    Defendant.                          n eft
12

13   n e Grand Jtu'y charges:

14                                                Istroduction
15                                   ïl.
                                       v    2'
                                             )l
            1       startinginJanue 2009,derenbarttworkedasalimousinetransportationmanagerfor
                                        .   1
16   victim com pany A . Asmanager,defendantrequired the employeeshe supervised to providetheirE-
17   m ailpasswordsto Mm , ostensibly so hecould accesstheirE-mailin case they leftthe com pany.On
18   5uly 14,2009,det-
                     endant'sem ploym entwastenninated.

19          2       A round septem ber2009, defendantbegmlworking foranotlaerbusiness thatalso

20       ided lim ousine sew ioes.
     prov
21          3       A fterdefendantstarted w orking forthisnew em ployer, he accessed 20 E-m ail

22   accounts belonging to his ex-em ployerw ithoutauthoriz-ation. From N ovem ber 10,2009 to
23   x ovem ber8 2010,defendantused em ployees'user lD s and pmsswordsto accessthese accounts,
                ,

24
      Case 2:12-cr-00294-GMN-GWF Document 1 Filed 08/08/12 Page 2 of 3


1    selectover 1,000 E-m ails,and forward tllem to an E-mailaccountthathecreatedtmdera
2    pseudonm      .



3           4          Defendantlaterforwarded som eofhisex-employer'sE-mailsto yetanotherE-mail

4    aocountthathe created using apseudonym based on afictionaltelevision characternam ed Sonny

5    steelgrave.

6           5          n e E- mailsthatdefendantstolecontained sensitive information such aslistsof

1    employeesandtheircompçnsation, lists'ofvendorsand theircontactinfonnation,pricequotesto
8    custom ers, advertisingbudgetproposals,and backgrotmd checkson prospective company
9        loyees.
     em p
10                                              c o t/x '
                                                        r o NE
                       O btainingInform ation By Com puterfrom a Protected Com puter
11
            6.         'Fheallegationssetforth in tlleIntroduction are re-alleged and incorporated asiffully
12
     setforth herein.                                               .
13                                         '' '
            7.         From in oraroundNovem ber2009to in oraroundNovember2010,in the Districtof
14
     N evada,
15
                                                        JO H N SIN A G ILA,
16
l7   defendant,did intentionallyacqrssacppputerwithoutauthorization,andtherebyobtained
                                 '   '       ''    '            '


     information from aprotected computer,anddid com mitthe offense forpurposesofcomm ercial
l8
19   advanugeandprivatefinancialgain,inviolationof18U.S.C.j 1030(a)(2)and(c)(2)(B)(i),andthe
20   valueoftheinformationobtainedexceeded$5,000,inviolationof18U.S.C.j1030(a)(2)and
21   (c)(2)(B)(iii).
                                                        CO UN T TW O
22                                                A ggravated Identity Theft

23          s          n e allegationssetfol.
                                            th in tlae Introduction arere alleged artd incorporated asiffully
                                                                              -




24   se
       ttbrth herein.


                                                                        2
                                         '
                                         :i
                                          .            .j, ..
      Case 2:12-cr-00294-GMN-GWF Document 1 Filed 08/08/12 Page 3 of 3



            9.     From in orarotmdNovember2009to in orarotmd Novem bcr2010,in theDistrictof

     Nevada,

                                           JOHN SINAGIW
 4   defenda
         . nt, did knowinglypossessand use,withoutlawfulauthority,am eansofidentilkation of

 5   M 0+ erm rson dm ing and in relation to a violation of18U S.C.j 1O30(a)(2),a1linviolationof18
                                                            .



 6   u s c j 1O28A(a)(l).         u.

 7          D A TED :this           day ofA ugust2012.

 8          A TR UE BILL :

 9
                                                        /s/
10                                             FOREPERSON OF THE GRAND JURY

     DANIEL G. (JD
     United Stat Att ey

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14   M ICIIAEL cH U
     A ssistantU nited StatesAttorney
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